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                              Exhibit 5
       State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                         Abbott Laboratories, Inc., et al.

            Exhibit to the Declaration of Nicholas N. Paul in Support of
Plaintiffs’ Opposition to Defendants’ Joint Motion for Partial Summary Judgment
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30 (b)(6) CA Dept. of Health Care Svcs. (Maureen Tooker) - Vol. I                                    October 21, 2008

                                                        Sacramento, CA

                                                                                                     Page 1
                              UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF MASSACHUSETTS

                                                --oOo--

          STATE OF CALIFORNIA, ex rel

          VEN-A-CARE OF THE FLORIDA KEYS, INC.,

          A Florida Corporation,

                                 Plaintiffs,

                            vs.                                MDL No. 1456

          ABBOTT LABORATORIES, INC.,                           Master File No.

          Et al.,                                              01-12257-PBS

                                 Defendants.                   Civil Action No.

          ____________________________/                        03-11226-PBS



                                                    --oOo--

                                     TUESDAY, OCTOBER 21, 2008

                                                    --oOo--

                                30(b)(6) VIDEOTAPE DEPOSITION OF

                                               MAUREEN TOOKER

                                                    --oOo--



          Reported By:           PATRICIA MCCARTHY, CSR No. 12888

                                 Registered Professional Reporter




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                                                                                                 Page 98
    1
               file itself.
    2
                            Q.           If there is an MAIC of -- a maximum
    3
               allowable ingredient cost figure, is that something
    4
               that can be looked up through the RAIS system?
    5
                            A.           Yes.
    6
                            Q.           Okay.             There are some -- there are some
    7
               publications that publish something called WAC.
    8
                                         Have you ever heard of that?
    9
                            A.           Yes, I have.
  10
                                         MR. ROBBEN:                I think we need to change
  11
               the tape.
  12
                                         VIDEOGRAPHER:                This is the end of Tape 1,
  13
               Volume I of the deposition of 36(b) -- excuse me,
  14
               30(b)(6) Witness Maureen Tooker.
  15
                                         We are off the record at 11:34 a.m.
  16
                                         (Discussion off the record)
  17
                                         VIDEOGRAPHER:                This is the beginning of
  18
               Tape 2, Volume I of the 30(b)(6) deposition of
  19
               Maureen Tooker.
  20
                                         We are on the record at 11:39 a.m.
  21
               BY MR. ROBBEN:
  22
                            Q.           Is the WAC for any given NDC available


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                                                                                                   Page 99
    1
               through the RAIS system?
    2
                            A.           No, it is not.
    3
                            Q.           Okay.             So it's not for any NDC?
    4
                            A.           No.
    5
                            Q.           Now, I take it, that the Department of
    6
               Health Care Services uses e-mail, correct?
    7
                            A.           Yes, it does.
    8
                            Q.           When was e-mail implemented at the
    9
               department?
  10
                            A.           As I stated before, I don't remember
  11
               before '96.
  12
                            Q.           Okay.             So -- okay.
  13
                                         Do you know the name of the e-mail
  14
               program that is used, or has been used from '96
  15
               forward?
  16
                            A.           Well, we use Microsoft Office.
  17
                            Q.           Okay.             Has that been what's been used
  18
               since '96?
  19
                            A.           Outlook.                   Outlook.   Sorry.
  20
                            Q.           Outlook.
  21
                            A.           I believe so.
  22
                            Q.           And you believe that has been used since


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                                                                                                  Page 114
    1
                            Q.           And when was that?                  I think you
    2
               testified earlier.
    3
                            A.           January 1st, 1997.
    4
                            Q.           So beginning in 1997, if a communication
    5
               such as this one were sent to DHS, it would have
    6
               been entered into a spread -- or some of the
    7
               information on there would have been entered into a
    8
               spreadsheet?
    9
                            A.           Correct.
  10
                            Q.           And maintained by the department?
  11
                            A.           By EDS.
  12
                            Q.           By EDS.
  13
                                         MR. BENNETT:                  That's all I have.
  14
                                         MR. PAUL:                  I just have a couple of
  15
               questions.
  16
                                                     EXAMINATION
  17
               BY MR. PAUL:
  18
                            Q.           MS. Tooker, why does DHS at the time,
  19
               DHCS now, not get WAC information from First
  20
               DataBank?
  21
                            A.           I can't answer that question.
  22
                            Q.           Does -- to your knowledge, does DHCS


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